                                 REGISTER OF ACTIONS
                                      CASE NO. 19-003294-CI
BRITTANY WILLIAMS Vs. DIGITAL MEDIA SOLUTIONS LLC §                              DISCRIMINATION -
                                                                  Case Type:
                                                  §                              EMPLOYMENT OR OTHER
                                                  §               Date Filed:    05/10/2019
                                                  §                 Location:    Section 7
                                                  §          Judicial Officer:   MUSCARELLA, PATRICIA ANN
                                                  §         UNIFORM CASE         522019CA003294XXCICI
                                                  §               NUMBER:


                                         PARTY INFORMATION
                                                              Attorneys
DEFENDANT       DIGITAL MEDIA SOLUTIONS LLC
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                 CLEARWATER, FL 33762


PLAINTIFF       WILLIAMS, BRITTANY                            PATRICK K ELLIOTT
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                                 EVENTS & ORDERS OF THE COURT
                 OTHER EVENTS AND HEARINGS
   05/24/2019    DESIGNATION OF E-MAIL ADDRESS(ES)          Doc # 4
   05/24/2019    NOTICE OF TAKING DEPOSITION         Doc # 5
   05/24/2019    NOTICE OF SERVICE OF INTERROGATORIES           Doc # 6
   05/24/2019    REQUEST FOR PRODUCTION          Doc # 7
   05/24/2019    AFFIDAVIT-SERVICE OF PROCESS         Doc # 8
                 052119
                 Party: DIGITAL MEDIA SOLUTIONS LLC
   05/10/2019    CIVIL COVER SHEET       Doc # 1
   05/10/2019    COMPLAINT       Doc # 2
                 AND DEMAND FOR JURY TRIAL
   05/10/2019    SUMMONS TO BE ISSUED         Doc # 3
                 ISSUED
                 Party: DIGITAL MEDIA SOLUTIONS LLC
